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JEFFREY HOUK, MICHAEL GROENE,
DAVID GROENE, and MICHAEL SIMMONS,

Plaintiffs,
VS. NO. 03-2487-Ma/P

THOMAS & BETTS CORPORATION,
a Tennessee corporation,

Defendant.

 

ORDER GRANTING PERMISSION TO FILE SURREPLY

 

Before the court is the April 8, 2005 motion filed by defendant requesting permission to
file a surreply in further support of its opposition to plaintiffs’ motion to reconsiderl For good
cause shown, the motion is granted and defendant’s surreply to plaintiffs’ motion to reconsider
under rule 59(e) attached to its motion for leave to file surreply shall be deemed filed as of the
date of entry of this order.

tr is so oRDERED this l?d¢\iay OfMay, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 58 in
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Honorable Samuel Mays
US DISTRICT COURT

